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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

OXFORD DIVISION
LATOYA HARRIS PLAINTIFY
v. CIVIL ACTION NO, 3:20-CV-00043-GHD-JMV
MEDICAL FINANCIAL SERVICES, INC, DEFENDANT

ORDER GRANTING IN THE ALTERNATIVE DEFENDANT’S MOTION TO DISMISS
FOR PLAINTIFF’S FAILURE TO PROSECUTE

 

Pursuant to’ an opinion issued this day, it is hereby ORDERED that:

(1) the Defendant’s Motion to Dismiss for Plaintiffs Failure to Prosecute [34] is
GRANTED IN THE ALTERNATIVE,

(2) all deadlines and dates in this case are SUSPENDED, pending further notice from the
Court,

(3) a final Order to Show Cause will be sent directly to Plaintiff Latoya Harris in her
individual capacity ordering her to correspond to the Court in writing and provide an
update on her case, and

(4) Defendant Medical Financial Services, Inc. is AWARDED monetary damages against
Plaintiffs counsel Attorney Jacob Burns for the fees and costs of the defense in this
case thus far, with the amougtte be subsequently ascertained.

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SO ORDERED, this th day of May, 2021.

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SENIOR U.S. DISTRICT JUDGE
